UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
 PABLO STAR LTD.                                                        :
                                                                        :
                                             Plaintiff(s),              :    ____ CV 1167
                                                                            15       _____ (JPO)
                           -v-                                          :
 THE WELSH GOVERNMENT, et al.                                           :      CIVIL CASE
                                                                        :   MANAGEMENT PLAN
                                             Defendant(s).              :    AND SCHEDULING
                                                                        :         ORDER
                                                                        :
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       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Fed. R. Civ. P. 26(f)(3).

1.      All parties [consent ______ / do not consent ______] to conducting all further
        proceedings before a United States Magistrate Judge, including motions and trial.
        28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
        consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.      Settlement discussions [have ______ / have not ______] taken place.

3.      The parties [have ______ / have not ______] conferred pursuant to Fed. R. Civ. P. 26(f).

4.      Amended pleadings may not be filed and additional parties may not be joined except with
        leave of the Court. Any motion to amend or to join additional parties shall be filed within
        ______
         30     days from the date of this Order. [Absent exceptional circumstances, thirty (30)
        days.]

5.      Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
        ______
         14      days from the date of this Order. [Absent exceptional circumstances, fourteen
        (14) days.]

6.      Fact Discovery

        a.                                                            XXXXXXXXX
                                                                          25, 2021 July 30, 2021
                 All fact discovery shall be completed no later than ____________________.
                                                                     June
                 [A period not to exceed 120 days, unless the Court finds that the case presents
                 unique complexities or other exceptional circumstances.]

        b.       Initial requests for production of documents shall be served by
                 ______________________.
                  March 18, 2021


        c.       Interrogatories shall be served by ______________________.
                                                    March 26, 2021




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      d.                                          XXXXXXX      July 30, 2021
               Depositions shall be completed by _______________________.
                                                 June 26, 2021


      e.                                             XXXXXXXXXX
                                                         25, 2021 July 30, 2021
               Requests to admit shall be served by ______________________.
                                                    June


      f.       Any of the deadlines in paragraphs 6(b) through 6(e) may be extended by the
               written consent of all parties without application to the Court, provided that all
               fact discovery is completed by the date set forth in paragraph 6(a).

7.    Expert Discovery

      a.       All expert discovery, including expert depositions, shall be completed no later than
                     XXXXXXXXXXX
                            4, 2021 TBD
               ______________________.
                    October                  [Absent exceptional circumstances, a date forty-five
               (45) days from the date in paragraph 6(a) (i.e., the completion of all fact
               discovery).]

      b.       Plaintiff’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made on
                           XXXXXXXX       TBD
               or before ______________________.
                          August 4, 2021


      c.       Defendant’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made
                            XXXXXXXX  4, 2021 TBD
               on or before ______________________.
                            September


      d.       The interim deadlines in paragraphs 7(b) and 7(c) may be extended by the written
               consent of all parties without application to the Court, provided that expert
               discovery is completed by the date set forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court’s Individual Practices.

9.    All counsel must meet via video conference to discuss settlement within fourteen (14)
      days following the close of fact discovery.

10.   a.       Counsel for the parties have discussed an informal exchange of information in aid
               of early settlement of this case and have agreed upon the following:

               __________________________________________________________________
               The Parties have litigated issues related to the claim at issue in this matter for years in multiple foreign jurisdictions

               __________________________________________________________________
                and have engaged in extended settlement talks already, but those talks have not resulted in a resolution of the

               __________________________________________________________________
               claims and thus proceeding to discovery is required.

               __________________________________________________________________
               __________________________________________________________________
               __________________________________________________________________
               __________________________________________________________________
               __________________________________________________________________
               __________________________________________________________________




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          b.       Counsel for the parties have discussed the use of the following alternate dispute
                   resolution mechanisms for use in this case: (i) a settlement conference before a
                   Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or
                   (iii) retention of a privately retained mediator. Counsel for the parties propose the
                   following alternate dispute resolution mechanism for this case:
                   A remote settlement conference (by video or teleconference) before a Magistrate Judge .

           c.      Counsel for the parties recommend that the alternate dispute resolution mechanism
                  designated in paragraph 10(b) be employed at the following point in the case (e.g.,
                  within the next sixty days; after the deposition of plaintiff is completed (specify
                  date); after the close of fact discovery):
Defendant: The Welsh Government’s position is that it would like to understand the basis for Pablo’s settlement.
If Pablo is unwilling to provide that information, fine. The Welsh Government would request a prompt remote
mediation with a Magistrate Judge within 30-60 days (or as soon as the Magistrate’s schedule permits) before
significant international discovery expenses are incurred by both parties. The parties were able to settle the claims
against Tribune.

Plaintiff: The parties have been litigating this claim for many years without any discovery and have litigated
similar claims in multiple foreign jurisdictions for many years, and have engaged in numerous efforts to settle
their dispute without any meaningful progress because the Welsh Government seeks a global and general release
but refuses to provide the information necessary to evaluate global damages. Particularly given the new
counterclaims that have been filed which involve judgments not involving the Defendant and (suspect) transfers of
claims and rights from non-parties, Plaintiff submits that scheduling the conference before any discovery has
occurred would be entirely unproductive. Plaintiff requests that the conference be scheduled following party
depositions.
         d.       The use of any alternative dispute resolution mechanism does not stay or modify
                   any date in this Order.
 11.      Unless otherwise ordered by the Court, any summary judgment motion shall be filed
          within fourteen (14) days of the close of all discovery. The parties shall submit a Joint
          Pretrial Order prepared in accordance with Fed. R. Civ. P. 26(a)(3) and the Court's
          Individual Practices within thirty (30) days of a decision on such motion. If no motion for
          summary judgment is filed, the parties shall file the Joint Pretrial Order within thirty (30)
          days of the close of discovery. Any motions in limine shall be filed on or before the date
          on which the Joint Pretrial Order is due. If this action is to be tried before a jury,
          proposed voir dire, jury instructions, and verdict form shall also be filed on or before the
          Joint Pretrial Order due date. Counsel are required to meet and confer on a joint
          submission of proposed jury instructions and verdict form, noting any points of
          disagreement in the joint submission. Jury instructions may not be submitted after the
          Joint Pretrial Order due date, unless they meet the standard of Fed. R. Civ. P. 51(a)(2)(A).
          If this action is to be tried to the Court, proposed findings of fact and conclusions of law
          should be submitted on or before the Joint Pretrial Order due date.
                                                           two weeks following the Final Pretrial Order
                                                   due date
 12.      The parties shall be ready for trial on ______________________.    [Absent exceptional
          circumstances, a date within two weeks following the Final Pretrial Order due date.]

 13.      This case [is ______ / is not ______] to be tried to a jury.

 14.      Counsel for the parties have conferred and their present best estimate of the length of trial
              3-5 days
          is ______________________.
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15.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Fed. R. Civ. P. 26(f)(3), are set forth below.
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________


Counsel for the Parties:


_________________________________
For Plaintiff: McCulloch Kleinman Law                For Defendant: Arnall Golden Gregory LLP
                                                     _________________________________


_________________________________
Kevin McCulloch (kevin@mkiplaw.com)                  Richard J. Oparil (richard.oparil@agg.com)
                                                     _________________________________


_________________________________
Nate Kleinman (nate@mkiplaw.com)                     Caroline Maxwell (caroline.maxwell@agg.gov)
                                                     _________________________________


_________________________________                    _________________________________


Counsel for the parties shall submit a joint status letter on
or before August 6, 2021.
       This Order may not be modified or the dates herein extended, except by further Order of
this Court for good cause shown. Any application to modify or extend the dates herein (except
as provided in paragraph 6(f) and 7(d)) shall be made in a written application in accordance
with Court’s Individual Practices and shall be made no less than two (2) business days prior to
the expiration of the date sought to be extended.

       SO ORDERED.
                                                     ____________________________________
                                                              J. PAUL OETKEN
                                                           United States District Judge

Dated: February 25, 2021

       New York, New York




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